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                                                   U. S. DISTRICT COURT
             IN THE UNITED STATES DISTRICT                 BQSct ofGa.
                 THE SOUTHERN DISTRICT OF GEORQIj^ in Office
                           SAVANNAH DIVISION                         M


                                                       Depu^ Clark



UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-227


STEPHEN JILES,


                 Defendant.




UNITED STATES OF AMERICA,


                                              Case No.    CR417-248


GEORGE POLITE,


                 Defendant,




UNITED STATES OF AMERICA,


                                              Case No.    CR417-262


DARRELL MCRAE,


                 Defendant.




                                 ORDER



      Stephanie O. Burgess, counsel of record for defendants in the

aboye-styled cases, has moved for leave of absence.           The Court is

mindful that personal and professional obligations require the
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